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 UNITED STATES DISTRICT COURT                                EASTERN DISTRICT OF TEXAS


UNITED STATES OF AMERICA                         §
                                                 §
 vs.                                             §            Case No. 4:11cr127
                                                 §            (Judge Crone)
BAJUNE MOSEBY (13)                               §

               MEMORANDUM ADOPTING REPORT AND
       RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE
       Came on for consideration the report of the United States Magistrate Judge in this action, this
matter having been heretofore referred to the United States Magistrate Judge pursuant to 28 U.S.C.

§ 636. On July 10, 2012, the report of the Magistrate Judge was entered containing proposed

findings of fact and recommendations that Defendant’s pro se “Notice of Petition to Dismiss for

Lack of Standing, Lack of Personal and Subject-Matter Jurisdiction of the United States District

Court Over Territory of a Foreign State and a State Citizen Domisiled [sic] in a Foreign State and

the United States of America to Have Jurisdiction Over a Citizen of a Foreign State With No Nexus

With the United States of America” (Dkt. #368) be denied.

       The Court, having made a de novo review of the objections raised by Defendant (Dkt. #394,

#397), is of the opinion that the findings and conclusions of the Magistrate Judge are correct, and

the objections are without merit. Therefore, the Court hereby adopts the findings and conclusions

of the Magistrate Judge as the findings and conclusions of this Court. It is accordingly

       ORDERED that Defendant’s pro se “Notice of Petition to Dismiss for Lack of Standing,

Lack of Personal and Subject-Matter Jurisdiction of the United States District Court Over Territory

of a Foreign State and a State Citizen Domisiled [sic] in a Foreign State and the United States of
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America to Have Jurisdiction Over a Citizen of a Foreign State With No Nexus With the United
           .
States of America” (Dkt. #368) is DENIED.
           SIGNED at Beaumont, Texas, this 7th day of September, 2004.
         SIGNED at Beaumont, Texas, this 25th day of July, 2012.




                                          ________________________________________
                                                      MARCIA A. CRONE
                                               UNITED STATES DISTRICT JUDGE




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